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This section MUST be filled out by the claimant in their own hand without assistance from any associate.

income Sources and Description

Describe in detail Sources of income and types of employer you had at the time of the oil Spill April 20" 2010.

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Describe in detail the nature of business your employers business and where the business operates and what services your
employer performs and how the Deepwater Horizon oil spill April 20", 2010 affected their business):

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Individual Disclaimer

| attest that the information included in this form as accurate and truthful to the best of my recollection:

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Print Name Veo | Ol ver

